             Case 2:11-cr-00467-JAM Document 104 Filed 09/20/13 Page 1 of 3



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 R. STEVEN LAPHAM
   LEE S. BICKLEY
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0467 JAM
12                                Plaintiff,             STIPULATION REGARDING
                                                         CONINUATION OF TRIAL
13   v.                                                  CONFIRMATION HEARING AND
                                                         EXCLUDABLE TIME PERIODS
14   ZHORA DARMOYAN, et. al.,                            UNDER SPEEDY TRIAL ACT;
                                                         [PROPOSED] FINDINGS AND
15                                Defendants.            ORDER
16                                                       DATE: SEPTEMBER 24, 2013
                                                         TIME: 9:45 A.M.
17                                                       JUDGE: JOHN A. MENDEZ
18

19

20
                                                STIPULATION
21
           Plaintiff United States of America, by and through its counsel of record, and defendants
22

23 Zhora Darmoyan, Kristine Atoyan, and Martin Atoyan, by and through their counsel of record,

24 hereby stipulate as follows:

25         1.      By previous order, this matter was set for trial confirmation hearing (“TCH”) on
26
     September 24, 2013.
27
           2.      The Court has previously excluded time under the Speedy Trial Act pursuant to 18
28
                                                     1
                  Case 2:11-cr-00467-JAM Document 104 Filed 09/20/13 Page 2 of 3


     U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] from April 16, 2013, until November 4, 2013, the
 1
     date of the trial.
 2

 3           3.       On September 18, 2013, the parties became aware that the Court could find no

 4 Armenian interpreter for the September 24, 2013 TCH.

 5           2.       By this stipulation, defendants now move to continue the status conference until
 6
     October 1, 2013 at 9:45 a.m., and to exclude time between September 24, 2013 and October 1, 2013,
 7
     under Local Code T1. Plaintiff does not oppose this request.
 8
             3.       The parties agree and stipulate, and request that the Court find the following:
 9

10           a.       Both defendants Zhora Darmoyan and Martin Atoyan need Armenian interpreters for

11 the TCH. It is the understanding of the parties that no Armenian interpreter is available on

12 September 24, 2013.

13           b.       A failure to continue the matter one week would be likely to make a continuation of
14
     such proceeding impossible and result in a miscarriage of justice.
15
             d.       The government does not object to the continuance.
16
             e.       Based on the above-stated findings, the ends of justice served by continuing the case
17

18 as requested outweigh the interest of the public and the defendants in a trial within the original date

19 prescribed by the Speedy Trial Act.

20           f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
21
     seq., within which trial must commence, the time period of September 24, 2013 to October 1, 2013,
22
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i)[Local Code T1] because
23
     it results from a continuance granted by the Court at each defendant’s request on the basis of the
24
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
25

26 public and the defendants in a speedy trial.

27           4.       Nothing in this stipulation and order shall preclude a finding that other provisions of
28
                                                          2
              Case 2:11-cr-00467-JAM Document 104 Filed 09/20/13 Page 3 of 3


     the Speedy Trial Act dictate that additional time periods are excludable from the period
 1
     within which a trial must commence.
 2

 3

 4 IT IS SO STIPULATED.

 5

 6 DATED:           September 19, 2013
 7
                                           /s/ Lee S. Bickley___________________
 8                                         Lee S. Bickley
                                           Assistant United States Attorney
 9

10 DATED:           September 19, 2013
11
                                           /s/ __Lee. S. Bickley for ___________
12                                         Kresta Nora Daly
                                           Counsel for Defendant Kristine Atoyan
13

14 DATED:           September 19, 2013
15
                                           /s/ __Lee. S. Bickley for ___________
16                                         Daniel Behesnilian
                                           Counsel for Defendant Zhora Darmoyan
17
     DATED:         September 19, 2013
18

19                                         /s/ __Lee. S. Bickley for ___________
                                           J Toney
20                                         Counsel for Defendant Martin Atoyan
21

22
                                                  ORDER
23

24          IT IS SO FOUND AND ORDERED this 20th day of September, 2013.
25                                         /s/ John A. Mendez________________________
                                           HON. JOHN A. MENDEZ
26                                         UNITED STATES DISTRICT COURT JUDGE
27

28
                                                       3
